                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 WSOU INVESTMENTS, LLC d/b/a                  §
 BRAZOS LICENSING AND                         §
 DEVELOPMENT,                                 §        CIVIL ACTION NO. 6:20-cv-533
                                              §
        Plaintiff,                            §          JURY TRIAL DEMANDED
                                              §
 v.                                           §
                                              §
 HUAWEI TECHNOLOGIES CO.,                     §
 LTD. and HUAWEI TECHNOLOGIES                 §
 USA INC.                                     §
                                              §
        Defendants.

                           ORIGINAL COMPLAINT FOR PATENT
                                   INFRINGEMENT

       Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development

(“Brazos” or “Plaintiff”), by and through its attorneys, files this Complaint for Patent

Infringement against Defendants Huawei Technologies Co., Ltd. and Huawei Technologies

USA Inc. (collectively “Huawei” or “Defendants”) and alleges:

                                   NATURE OF THE ACTION
       1.       This is a civil action for patent infringement arising under the Patent Laws

 of the United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.




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                                           THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws

 of Delaware, with its principal place of business at 606 Austin Ave, Ste 6, Waco, TX 76701.

        3.       On information and belief, Defendant Huawei Technologies Co., Ltd. is a

 Chinese corporation that does business in Texas, directly or through intermediaries, with a

 principal place of business at Bantian, Longgang District, Shenzhen 518129, People’s

 Republic of China.

        4.       Upon information and belief, Defendant Huawei Technologies USA Inc. is a

 corporation organized and existing under the laws of Texas that maintains an established

 place of business at 2391 NE Interstate 410 Loop, San Antonio, TX 78217. Huawei

 Technologies USA, Inc. is authorized to do business in Texas and may be served via its

 registered agent, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas

 75201-3136.

        5.       The Defendants operate under and identify with the trade name “Huawei.”

 Each of the Defendants may be referred to individually as a “Huawei Defendant” and,

 collectively, Defendants may be referred to below as “Huawei” or as the “Huawei

 Defendants.”

                              JURISDICTION AND VENUE
       6.       This is an action for patent infringement which arises under the Patent Laws

of the United States, in particular, 35 U.S.C. §§271, 281, 284, and 285.

       7.       This Court has jurisdiction over the subject matter of this action under 28

U.S.C. §§ 1331 and 1338(a).

       8.       This Court has specific and general personal jurisdiction over each Huawei

Defendant pursuant to due process and/or the Texas Long Arm Statute, because each Huawei

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Defendant has committed acts giving rise to this action within Texas and within this judicial

district. The Court’s exercise of jurisdiction over each Huawei Defendant would not offend

traditional notions of fair play and substantial justice because Huawei has established

minimum contacts with the forum. For example, on information and belief, Huawei

Defendants have committed acts of infringement in this judicial district, by among other

things, selling and offering for sale products that infringe the asserted patent, directly or

through intermediaries, as alleged herein.

       9.       Venue in the Western District of Texas is proper pursuant to 28 U.S.C.

§§1391(b), (c)(3), and 1400(b) because Huawei Technologies USA Inc. has committed acts

of infringement in this judicial district and has a regular and established place of business

in this judicial district and in Texas. As non-limiting examples, on information and belief,

Huawei Technologies USA Inc. has sold or offered to sell the Accused Products in this

judicial district and has employees or agents that operate Huawei equipment in this judicial

district, including at 189 CR 265, Georgetown, TX 78626, 1150 S Bell Blvd, Cedar Park,

TX 78613, 1399 S A W Grimes Blvd, Round Rock, TX 78664, 12335 IH 35, Jarrell, TX

76537, 1050 Rabbit Hill Rd, Unit #E, Georgetown, TX 78626, 1602 A W Grimes Blvd,

Round Rock, TX 78664, 4120 IH 35 N, Georgetown, TX 78626, 900 CR 272, Leander, TX

78641, 1950 Crystal Falls Pkwy, Leander, TX 78641, 1101 N Industrial Blvd, Round Rock,

TX 78681, 506 McNeil Rd, Round Rock, TX 78681, 3210 Chisholm Trail Rd, Round Rock,

TX 78681, 112 Roundville Ln, Round Rock, TX 78664, 202 Central Dr W, Georgetown,

TX 78628, 3595 E Hwy 29, Georgetown, TX 78626, 1402 W Welch St, Taylor, TX 76574,

3801 Oak Ridge Dr, Round Rock, TX 78681, 1957 Red Bud Ln #B, Round Rock, TX

78664, 6603 S Lakewood Dr, Georgetown, TX 78633, 500 W Front, Hutto, TX 78634.



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                          COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 6,882,267
        10.     Brazos re-alleges and incorporates by reference the preceding paragraphs

of this Complaint.

        11.     On April 19, 2005, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 6,882,627 (“the ’627 Patent”), entitled “Methods and

Apparatus for Selecting Multiple Paths Taking Into Account Shared Risk.” A true and

correct copy of the ’627 Patent is attached as Exhibit A to this Complaint.

        12.     Brazos is the owner of all rights, title, and interest in and to the ’627 Patent,

including the right to assert all causes of action arising under the ’627 Patent and the right

to any remedies for the infringement of the ’627 Patent.

        13.     Huawei makes, uses, sells, offers for sale, imports, and/or distributes in the

United States, including within this judicial district, products such as, but not limited to,

Huawei routers with shared-risk-link-group (SRLG) related functions (collectively, the

“Accused Products”).

        14.   The Accused Products include Huawei NetEngine 40E series routers.

        15.   The Accused Products implement a method of

selecting multiple paths through a network for efficient

utilization of an interconnected set of network resources. The

network may be represented by a network topology using a

software-defined (SDN) architecture and optimized using

Multiprotocol Label Switching (MPLS) Traffic Engineering

(TE).




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        16.    MPLS TE establishes label switched paths (LSPs) with which network traffic is

transmitted   along   the   specified   of   path   from   a   source   node   to   a   destination:




        17.      The Accused Products provide a shared risk link group (SRLG) function to

improve MPLS TE by selecting a network topology that helps backup and primary paths from

overlapping over links with the same risk level:




        18.      The Accused Products use the SRLG information to identify paths through

the network topology:




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       19.        In view of preceding paragraphs, each and every element of at least claim 1

of the ’627 Patent is found in the Accused Products.

       20.        Huawei has and continues to directly infringe at least one claim of the ’627

Patent, literally or under the doctrine of equivalents, by making, using, selling, offering for

sale, importing, and/or distributing the Accused Products in the United States, including

within this judicial district, without the authority of Brazos.

       21.        Huawei has received notice and actual or constructive knowledge of the ’627

Patent since at least the date of service of this Complaint.

       22.        Since at least the date of service of this Complaint, through its actions,

Huawei has actively induced product makers, distributors, retailers, and/or end users of the

Accused Products to infringe the ’627 Patent throughout the United States, including within

this judicial district, by, among other things, advertising and promoting the use of the Accused

Products in various websites, including providing and disseminating product descriptions,

operating manuals, and other instructions on how to implement and configure the Accused

Products. Examples of such advertising, promoting, and/or instructing include the documents

at:

             •   https://e.huawei.com/us/products/enterprise-networking/routers/ne/ne40e
             •   https://support.huawei.com/enterprise/en/tool
             •   https://support.huawei.com/enterprise/en/doc/EDOC1000178173/
             •   https://support.huawei.com/enterprise/us/doc/EDOC1100027154/
             •   https://support.huawei.com/enterprise/us/doc/EDOC1100087993/
             •   https://www.scribd.com/document/239082836/Configuration-Guide-MPLS-
                 V600R003C00-02



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       23.      Since at least the date of service of this Complaint, through its actions, Huawei

has contributed to the infringement of the ’627 Patent by having others sell, offer for sale, or

use the Accused Products throughout the United States, including within this judicial district,

with knowledge that the Accused Products infringe the ’627 Patent. The Accused Products are

especially made or adapted for infringing the ’627 Patent and have no substantial non-

infringing use. For example, in view of the preceding paragraphs, the Accused Products

contain functionality which is material to at least one claim of the ’627 Patent.

                                          JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.


                                 REQUEST FOR RELIEF

        WHEREFORE, Brazos respectfully requests that the Court:

        (A)     Enter judgment that Huawei infringes one or more claims of the ’627 Patent

 literally and/or under the doctrine of equivalents;

        (B)     Enter judgment that Huawei has induced infringement and continues to

 induce infringement of one or more claims of the ’627 Patent;

        (C)     Enter judgment that Huawei has contributed to and continues to contribute

 to the infringement of one or more claims of the ’627 Patent;

        (D)     Award Brazos damages, to be paid by Huawei in an amount adequate to

 compensate Brazos for such damages, together with pre-judgment and post-judgment

 interest for the infringement by Huawei of the ’627 Patent through the date such judgment

 is entered in accordance with 35 U.S.C. §284, and increase such award by up to three times

 the amount found or assessed in accordance with 35 U.S.C. §284;

        (E)     Declare this case exceptional pursuant to 35 U.S.C. §285; and


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         (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

  additional relief as is deemed appropriate by this Court.




Dated: June 17, 2020                          Respectfully submitted,

                                             /s/ James L. Etheridge

                                             James L. Etheridge
                                             Texas State Bar No. 24059147
                                             Ryan S. Loveless
                                             Texas State Bar No. 24036997
                                             Travis L. Richins
                                             Texas State Bar No. 24061296
                                             ETHERIDGE LAW GROUP, PLLC
                                             2600 E. Southlake Blvd., Suite 120 / 324
                                             Southlake, Texas 76092
                                             Telephone: (817) 470-7249
                                             Facsimile: (817) 887-5950
                                             Jim@EtheridgeLaw.com
                                             Ryan@EtheridgeLaw.com
                                             Travis@EtheridgeLaw.com


                                             COUNSEL FOR PLAINTIFF




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